                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 DARRYL KENDRICKS,                                   )
                                                     )
                Petitioner,                          )
                                                     )
 v.                                                  )       Nos.    1:11-CR-27-HSM-SKL-1
                                                     )               1:16-CV-275-HSM
 UNITED STATES OF AMERICA,                           )
                                                     )
                Respondent.                          )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s amended pro se motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S.C. § 2255 [Docs. 195, 197, 198].1 He bases the request for relief on

 Johnson v. United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the

 residual clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was

 unconstitutionally vague [Id.]. The United States responded in opposition on August 22, 2016

 [Doc. 199]. Petitioner did not reply and the time for doing so has now passed. E.D. Tenn. L.R.

 7.1, 7.2.   For the reasons that follow, Petitioner’s § 2255 motion will be DENIED and

 DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In 2011, Petitioner pled guilty, and was later convicted of, conspiring to manufacture and

 distribute at least 280 grams of cocaine base, in violation of 21 U.S.C. §§ 846 and 841(a)(1),

 (b)(1)(A) [Doc. 144]. Based on a prior felony drug trafficking conviction and because the



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        The Court received Petitioner’s original pro se petition on June 27, 2016 [Doc. 195].
 Over the next month, Petitioner filed two pro se supplements expounding upon his single
 request: sentencing relief in light of Johnson v. United States, 135 S. Ct. 2551 (2015) [Docs. 197,
 198].


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 United States filed a timely notice of enhancement under 21 U.S.C. § 851, Petitioner faced a

 twenty-year statutory mandatory minimum [Presentence Investigation Report (PSR) ¶¶ 10, 95–

 97]. In accordance with the statutory mandate, this Court sentenced Petitioner to 240 months’

 imprisonment on November 9, 2011 [Doc. 144]. Petitioner did not file a direct appeal.

        Nearly two years later, Petitioner submitted the instant motion seeking collateral relief in

 light of the Johnson decision [Docs. 195, 197, 198].

 II.    STANDARD OF REVIEW

        The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

 petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the

 entire proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting

 Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly

 higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the

 proceedings which necessarily results in a complete miscarriage of justice or an egregious error

 violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

 III.   ANALYSIS

        Petitioner’s argument that he no longer possesses predicate offenses sufficient for

 categorization as an armed career criminal under § 924(e), enhancement as a career-offender

 under Section 4B1.1 of the United States Sentencing Guidelines, or application of an enhanced




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 base offense level under Section 2K2.1 of the same fails because the record conclusively

 demonstrates that he was never subjected to these provisions [PSR ¶¶ 10, 95–97].2

         To the extent Petitioner argues that the Johnson decision somehow undermines his

 statutory enhancement, he is mistaken. The criminal provision at issue, § 841(b)(1)(A), provides

 for an enhanced sentence of incarceration where the defendant has a “prior felony drug offense”

 and defines that term as any offense “punishable by imprisonment for more than one year under

 any [state, federal, or international] law . . . that prohibits or restricts conduct relating to narcotic

 drugs, marihuana, anabolic steroids, or depressant or stimulant substances.” 21 U.S.C. 802(44).

 Because the provision does not contain a residual clause, the Johnson decision is inapposite.

 2
        The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
 The statute defines “violent felony” as “any crime punishable by imprisonment for a term
 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
 clause—that the Supreme Court deemed unconstitutional in the Johnson decision. 135 S. Ct. at
 2563.

 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
 See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
 well as a nearly identical enumerated-offense clause).

 The Guidelines set a general base offense level of fourteen for violating 18 U.S.C. § 922(g).
 U.S. Sentencing Manual § 2K2.1(a)(6). For offenders with one prior conviction for either a
 “crime of violence” or “controlled substance offense,” the base offense level increases to twenty.
 U.S. Sentencing Manual § 2K2.1(a)(4). Offenders with two such convictions face a base offense
 level of twenty-four. U.S. Sentencing Manual § 2K2.1(a)(2).


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 Accord United States v. Darling, 619 F. App’x 877, 880 n.5 (11th Cir. 2015) (explaining that the

 Johnson decision “has no bearing” on the designation of controlled-substance convictions).

        To the extent Petitioner complains that the Court improperly assigned criminal history

 points for prior a drug trafficking conviction under which Petitioner never served any term of

 imprisonment [Doc. 198 pp. 4–5], the Johnson decision is inapposite. Each prior conviction that

 resulted in criminal history points did so because it constituted a prior “sentence of imprisonment

 exceeding one year and one month” under Section 4A1.1(a), prior “sentence of imprisonment of

 at least sixty days” under Section 4A1.1(b), or otherwise qualified under Section 4A1.1(c), not

 because it was a “crime of violence” under the ACCA residual clause. Thus, Petitioner’s

 reliance on United States v. Chatmon—which held that a conviction “could still count as a

 predicate offense” for purpose of the career offender statute so long as it “qualifies as a ‘prior

 sentence’ under [Section] 4A1.1(c),” 565 F. App’x 345, 353 (6th Cir. 2014), is misplaced.

 IV.    CONCLUSION

        For the reasons discussed, Petitioner’s supplemented § 2255 motion [Docs. 195, 197,

 198] will be DENIED and DISMISSED WITH PREJUDICE. The Court will CERTIFY any

 appeal from this action would not be taken in good faith and would be totally frivolous.

 Therefore, this Court will DENY Petitioner leave to proceed in forma pauperis on appeal. See

 Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make a

 substantial showing of the denial of a constitutional right, a certificate of appealability SHALL

 NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.




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       AN APPROPRIATE JUDGMENT ORDER WILL ENTER.



                                                /s/ Harry S. Mattice, Jr._______
                                               HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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